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o&zr54 1 IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT 0F ILLINOIS
2 EASTERN DIVISION
3
4 COMMITTEE FOR A FAIR AND BALANCED Docket No. 11 C 5065
5 MAP, et e].,
6 P1aint1ffs,
vs.
7 Chicago, I111n013
ILLINOIS STATE BOARD OF ELECTIONS, September 29, 2011
8 et a]., 9:00 o'c1ock a.m.
9 Defendants. '
10
TRANSCRIPT OF PROCEEDINGS - MOTION
11 BEFORE
THE HONORABLE JOHN DANIEL TINDER
12 THE HONORABLE ROBERT LOWELL MILLER, JR.
13 THE HONORABLE JOAN HUMPHREY LEFKOW
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EXH|B|T

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APPEARANCES CONTINUED:

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Defendants:

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Defendants:

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(The foiiomdng proceedings were had in open court )

THE CLERK: 11 C 5065, Committee for Fair and
Ba1anced Map v. I11inois State Board of E1ections.

MS. LIGHTFOOT: Good morning, your Honor; Lori
Lightfoot and Tom Panoff on beha1f of the p1aintiffs.

MR. BERGETZ: Good morning, your Honor; Car1 Bergetz
and Brent Stratton on behaif of the State Board of Eiections
and other defendants.

MR. PRENDERGAST: Good morning, your Honor; Richard
Prendergast on beha]f of third parties.

MR. LAYDEN: Mike Layden aiso for third parties.

MR. KASPER: Michae1 Kasper, K-a-s-p-e-r, on behaif
of the state defendants.

JUDGE LEFKOW: AJ1 right. Lots of 1awyers.

I weicome Judges Tinder and Mi11er to join the panel
today and taik about the discovery. lt comes down mostiy to
the issue of how far does immunity extend. We have read a11
the materia]s and have an idea of where we want to go, but I
have a few questions for you, and then others may jump in.

As for the piaintiffs, what information do you need
that is not a1ready avaiiab1e from pubiic sources?

MS. LIGHTFOOT: Your Honor, we sti11 as we sit here
today severa1 months into this case have no idea of some basic
information. For examp]e, we have no idea who actua11y

drafted any of the particu1ar districts that are in the pian

 

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that was signed into 1aw eariier this year. We have no
information about what decisions were made as to how the 1ines
were drawn on any particu1ar district. We have no specific
information as to what information was used as a source,
whether, for exampie, any racia1 bioc voting anaiysis was
done, whether or not there was any considerations wdth respect
to respecting communities of interest. Any of the basic
information, for examp1e, that we have provided to the State
Board of E1ections wdth respect to the a1ternative map which
we have tendered to the court back in eariy August, we have
none of that information wdth respect to how the
reapportionment pian for Congressiona1 district was drawn. We
Know nothing.

We are frankiy -- we have a 1itt1e bit of
information, but we have virtuaiiy nothing that wouid a11ow us
to do any kind of ana1ysis wdth respect to intent. We have no
specific information regarding what was done in the
construction, for exampie, of Congressiona1 District 4, the
so-caiied earmuff district. We have no specific information
from them because it‘s not pubiic1y avai1ab1e about how
Districts 3 and 5 that abut the city for the earmuff district,
how those districts were changed and whether or not specific
popu1ations moved into those districts; for exampie, whether
or not the Latino popuiations from those existing districts

pre -- of the pre-districting were carved out of those

 

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districts and moved into that. That's information that we
have a 1itt1e bit of anaiysis for, but we have nothing from
their side. And the concern, obvious1y, is we have cha11enged
this map as an unconstitutiona1 racia1 and poiiticai
gerrymander. I think we are entitied to basic information
about how it was that the peop]e who actuaiiy drew the map
made their decisions, who they were, how it was done, and none
of that information is avaiiabie.

For exampie, if you have iooked at our briefs, I
think we point out there were weeks of pubiic hearings that
were heid across the state ostensibiy to ta1k about issues
reiated to redistricting. If you 100k at the transcripts from
those pubiic hearings, by and 1arge, the discussion was about
the state 1egis1ative map, very 1itt1e commentary from any
direction wdth respect to the Congressiona1 map. So those
pub1iciy avai1ab1e transcripts frank1y yieid next to no
information,

We are toid in our back and forth wdth counse1 for
the respondents that, for examp1e, no expert actua11y iooked
at the map that was passed before it was passed. Now, we
obviousiy take them at their word, but no expert that they
have identified that is working on the state map -- for
exampie, expert Lickman (phonetic) and two others that were
identified -- frank1y, it's impossibie for us to be1ieve that

no expert actuaiiy iooked at, opined on, or heiped wnth this

 

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map.

Now, it cou1d very we11 be that there was another
expert, and we suspect that there was, but it wasn't somebody
that was under the possession and contro1 of the Springfieid
democrats who contro11ed this map --

JUDGE TINDER: Weii, you have a subpoena out, don't
you, to this DCCC organization --

MS. LIGHTFOOT: We do, your Honor.

JUDGE TINDER: -- who you suspect are, in your view,
the cuiprits here?

MS. LIGHTFOOT: What we beiieve, frankiy, your Honor,
is this. We be1ieve that part of the map was drawn by f01ks
in Springfie1d, but we aiso beiieve that another part of it,
and perhaps maybe the iion's share of that map, were drawn by
either the DCCC or their agents. There is another entity that
we have identified.

The difficuity is it's iike a comedy sketch routine.
We have on the one hand the respondent saying, We11, this
information is avaiiabie somepiace eise, go see the DCCC. We
get the DCCC on the other hand saying, This information is
avaiiabie somepiace e1se, go see the respondents. That issue
hopefu11y wn11 get sorted out, we have a status on Monday in
the district court in Washington, D.C., that hopefuiiy wn11
move that process aiong, but I don't think we are required to

choose one versus the other because the truth is, neither side

 

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today has acknowiedged much of anything about what their
specific ro1e is in drawing this particu1ar map. What they
have -- what the DCCC has done, frankiy not uniike what has
happened here, is they have cioaked themseives in the First
Amendment privi1ege and this is a gross intrusion on their
proprietary information. We are sti11 no further than we were
when we fiied this 1awsuit in finding out the particu1ars
about how it was drafted, who drafted it, and why certain
decisions were made. That's why we think that this issue
that's before the court today is so important. If there was
an aiternative source, your Honor, be1ieve me, we wouid be
seeking it, but the truth is --

JUDGE TINDER: I guess I have a 1ot of concern about
this why certain decisions were made. A 1egis1ator can have
in her mind that she is going to vote for certain 1egis1ation
to discriminate, right?

MS. LIGHTFOOT: Sure.

JUDGE TINDER: But you measure that by what the
resu1t of the 1egis1ation is. Expioring the individuai
thought process does not seem to be an appropriate -- in 1ight
of things --

MS. LIGHTFOOT: Sure.

JUDGE TINDER: -- 1egis1ative immunity and other
concerns.

MS. LIGHTFOOT: We11, 1et me be c1ear about that.

 

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One, we don't be1ieve that this was a case that invo]ves
1egis1ative immunity because the respondents are not named
parties. We be]ieve that the proper anaiysis --

JUDGE TINDER: We11, at ieast 1egisiative priviiege.

MS. LIGHTFOOT: Under privi]ege. And I think that's
an important distinction, your Honor, because as your Honor is
we11 aware, ciear1y if this were an instance where individua1
member's iiabiiity was at stake, whether it be 1egis1ators or
their staff, then we wou]d be having a very different
conversation, and frankiy we might not even be having this
conversation, because the case 1aw is ciear about abso]ute
immunity in those circumstances.

What the respondents have done is essentiaiiy
confiate the broad iegiSTative immunity case 1aw and
protection it's afforded for iitigants in a case versus the
priviiege. But back to you --

JUDGE TINDER: I understand. l understand. But this
why is proven in the pudding, isn't it, in what they did,
that's how it's generai]y proven?

MS. LIGHTFOGT: I want to be c1ear that we are not
and we have no intention of asking individuai 1egis1ators what
was in their head when they voted for the particuiar map.
That's frankiy of no consequence --

JUDGE TINDER: It sure sounds 1ike you're getting to

that, or what was in the staffer's head or what was in the

 

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consu]tant's head when they did this or that. It sure sounds
1ike you're headed that way.

MS. LIGHTFOOT: Weii, I think that under Shaw, we are
entitied in the context of an intentionai discrimination
ciaim, which is what we have a11eged in severa1 of our counts
in the compiaint, to understand what was the purpose in mind
in drafting the particuiar p1an. /Mmiwhat we have sought is
specific documents that provide information, objective
information, about what facts they 1ooked at, what data they
considered, and other things that I think are objective facts
that again don't get into the specific mindset of a particuiar
legisiator or a staff person in order to heip us prove up our
intent phase. That certainiy is the distinction that we think
we were trying to draw wdth our subpoena, and we are happy to
c1arify that.

But l think 1ooking at those objective facts, the
what that went into the map, I think is something that we are
entitied to inquire about, and the quaiified privi1ege, the
evidentiary priviiege, aiiows us to make exact1y that kind of
inquiry.

JUDGE LEFKOW: Okay. Let's take a break here, We
don't have a iot of time here, and nobody e1se had to speak.
So I am thinking 1et's hear from the defense, and then if you
have any more points you'd 1ike to make, and then we wd11 hear

from the defense and then the non-parties and third parties.

 

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If some of you wou1d 1ike to be seated, you'd probabiy be more
comfortab1e.

MR. PRENDERGAST: Good morning, your Honor. Richard
Prendergast.

Your Honor, I was 1ooking at the rep1y brief 1ast
night and the pros as we11 as the a11egations in the
compiaint, and what is a1so 1urking just beiow the surface of
this dark, bottomiess p001 is the roie of the Nationa1
Democratic and Congressionai Campaign Committee, which we ca11
the DCCC, who the Springfieid democrats invited into the
process.

The DCCC has been subpoenaed for every singie piece
of paper that they have having anything to do wdth this
process. They have maintained in their compiaint and their
papers --

JUDGE TINDER: This isn't part of your motion to
quash, is it?

MR. PRENDERGAST: We11, I was just responding to
counsei.

JUDGE TINDER: I was kind of hoping we‘d focus on the
issues that are before us.

MR. PRENDERGAST: Weii, I think that they are
essentiai]y cross-motions. I mean, the bases for the motion
to quash is very much the same. For examp1e, one of the bases

for the motion to quash is that you have a iegisiative

 

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priviiege on the one hand and an argument on the other hand
that their hands are tied, and I am simp1y saying that in the
course -- in the compiaint and in the papers they fi1ed, they
make an a11egation, a ciear aiiegation, that this map was
drawn by the DCCC and the members of the Iiiinois
Congressionai deiegation. In fact, they have subpoenas
scheduied for the entire Iiiinois Congressionai deiegation
starting wdth yesterday, and I think Congressman Shimkus is
scheduied for today, and then it goes on through Saturday, the
15th of OCtober.

So they scheduiing depositions of Congresspeop1e who
they be1ieve were invoived in the -- they obvious]y beiieve
they were invoived in drawing the map, they have the DCCC, we
have produced thousands of documents in response to the
Freedom of Information Act, there are hearing transcripts.

So to answer the question, there a11 kinds of sources
of information here that are avaiiab]e to them, on top of the
fact that these cases are, in the fina1 analysis, driven by
expert testimony. And that expert testimony takes in the
data, and the experts take in the -- consider a11 the data
affecting where the 1ines were drawn, and they provide, based
upon the data that's pub1iciy avaiiabie, their opinions wnth
respect to whether or not the map was fair or not, whether it
satisfies the Section 2 of the Voting Rights Act of the

protection c1ause or any other 1ega1 requirement.

 

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So to answer the question -- and it's a question
that's pertinent to our motion to quash, your Honor, because
part of our motion to quash rests on the fact that this isn't
the only place they have to go and you have this
long-established going back to English common law certainly
incorporated wnthin the American system of jurisprudence since
the beginning of legislative immunity and legislative
privilege. And so that point, to the extent that they argue
the legislative privilege doesn't apply here because this
isn't a speech and debate clause issue, there are cases that
we have cited that make it clear that the speech and debate
clause and the common law privilege applies to state
legislators, that common law privilege applies to state
legislators and is coextensive wdth the speech and debate
clause as the cases have been cited in our brief.

So the privilege itself is an extraordinarily
important one. I mean, if you imagine, it's a separation of
powers issue. And not to be too dramatic about it, but it's
not uncommon for a legislature, Congress or a state
legislature, to take up a bill that reviews law that has been
found by a court decision, the outcome has been determined by
a court decision, and the legislature wants to change it.

No one would even envision the possibility that a
senate committee could subpoena your law clerk or your papers

or inquire into your intent and motivation. In fact, there is

 

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no case cited and there is no case that we have found where a
court has upheld -- either under a qualified privilege or an
absolute privilege has upheld the right of a party to inquire
into the motivations or intent of a legislator in the course
of preparing or in the course of deliberating or voting on a
mii. `

And as far as the -- -

JUDGE TINDER: So how would that apply to information
coming in to the legislature, data that it receives, and on
the other end information that goes out, public statements
made, meetings wdth those who are not part of the legislative
process? How would it apply on both ends of the information?

I understand what you are saying about the kind of
internal workings where the legislators work with staff where
there are those deliberative things that legislators do. But
in the data coming in and the information going out, how does
it apply there?

MR. PRENDERGAST: It's part of the deliberative
process. There is substantial case law upholding that view,
and for a good reason.

If you take a look at the opening page or two of
their reply brief, you would think that this was some kind of
a Draconian unusual process by which this legislation was
passed. The fact of the matter -- you know the old sausage in

legislation bromide. The fact of the matter is that it's very

 

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common in Springfield and in other state legislatures and in
Congress for a bill to be worked on by interest groups,
lobbyists, sponsors, all working together. It goes to the
rules committee, the rules committee wdthout a hearing sends
it to a substantive committee. The substantive committee,
often wdthout much of a hearing, sends it to the floor. And
most of the time, with far less debate than this bill got, the
bill passes. The description that they have on the first page
or two of their reply brief is a description of the
legislative process generally.

Now, this is not a situation where everybody was kept
in the dark. There was a lot of public hearing -- there were
a lot of public hearings, we have turned over thousands of
documents to them to the extent that the DCCC was the crafter
of this, they have them under subpoena, they have all the
Congresspersons under subpoena, they do not need to violate or
ask this court to violate or take exception to an
extraordinarily important privilege in immunity that has
existed in common law and throughout the United States
history.

JUDGE MILLER: When you say you "turned over
thousands of documents," what sorts of documents do those
consist of?

MR. PRENDERGAST: They consist of hearing

transcripts, they consist of reports, they consist of --

 

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JUDGE MILLER: What kind of reports?

MR. PRENDERGAST: Well, reports concerning the --
what the whole process -- there were like 20 hearings around
the state. Every one of those hearings involved both the
state map and Congressional map. There were reports relating
to those. There were hearing transcripts themselves. I mean,
I don't have, your Honor, a list of all the documents.

JUDGE MILLER: No, I'm not -- I'm looking for a
genre.

MR. PRENDERGAST: It's clearly in the thousands. And
when you combine that wnth information that they are going to
seek -- are seeking from Congresspersons and other third
parties and you combine that wdth the fact that this is an
expert-driven, data-driven process, and you combine that wdth
the fact that there is no case that has ever allowed anybody
to ask what's the motivation or intent of a Congressperson or
a legislator in passing a bill, there is nothing here that
warrants exception to the legislative privilege.

JUDGE MILLER: Just to finish my question, everything
you have given them so far, these thousands of pages, are all
public records; is that what you have described?

MR. PRENDERGAST: I think they are largely public
records. I don't -- I think they are publicly available under
the Freedom of Information Act. I mean, I don't think you can

just go find them in the archives. But they pursued every way

 

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to go after information. The Freedom of Information Act
inquiry was made, I don't know, five or six weeks ago, and it
was responded to.

So, you know, publicly available, yes, if you follow
the FOIA process, which they followed and which we responded
to.

JUDGE LEFKOW: It seems to me that the issue is
whether the common law legislative immunity absolutely shields
the non-party lawmakers from state lawmakers in providing
evidence in a lawsuit. I mean, they are not parties to the
lawsuit, and usually immunity is cast in terms of you don't
have to appear as a defendant in a lawsuit.

MR. PRENDERGAST: Ybur Honor, one of the cases we
cite is a D. C. Circuit decision, 1988. It's Minpeco,
M-i-n-p-e-c-o, v. Conticommodity Services, 844 F.2d 856, a
subpoena to non-party subpoena and staff protected by absolute
legislative privilege. That case recognized or held the very
point that you're referring to.

JUDGE LEFKOW: 0kay.

MR. PRENDERGAST: I think that's also true of the
EEOC v. Washington Suburban, which is a Fourth Circuit
decision, And I think we had cited one other case as well.
It's at page 12 of our position to the motion to compel. I
think that's pretty well settled.

And it also addresses the issue of whether a

 

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non-party -- if there is any distinction between a party and

non-party. This court has decided cases on that subject, and
they come back and say, Well, those are party cases. Minpeco
is not, I think -- Minpeco is not a party case.

JUDGE LEFKOW: But those are decided under the speech
and debate clause.

MR. PRENDERGAST: That's true.

MS. LIGHTFOOT: Yes.

MR. PRENDERGAST: But what the cases that we have
cited have indicated is that while the speech and debate
clause applies to Congress, the common law immunity applies to
state legislators and it's coextensive with the speech and
debate clause.

JUDGE LEFKOW: Maybe they are and maybe they are not.

0kay. All right.

MS. LIGHTFOOT: Ybur Honor, may I?

JUDGE LEFKOW: Does anyone for the defense want to
add to this?

MR. BERGETZ: No, your Honor.

MS. LIGHTFOOT: May I respond, your Honor.

JUDGE LEFKUW: Yes.

MS. LIGHTFOOT: There are a number of points that
need clarification. Judge asked, What specific documents have
the state provided when we talked about the authentication of

transcripts. I go back to the point that I made earlier, your

 

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Honor. Yes, those transcripts were provided. Frankly, we had
them already. But those are transcripts for public hearings
in which no member of the public was allowed to ask any panel
member a single question and which, for the most part, there
was no reference whatsoever to any Congressional plan. And I
think an important point for this court to consider is that
during the course of those public hearings, there was no
Congressional plan that had been put forward to the public.

We emphasized in our papers the fact that the first
time that any member of the public had an opportunity to see
the actual Congressional -- a version of the actual
Congressional plan that subsequently was passed was on the
early-morning hours of the Friday of Memorial weekend. There
was no public hearing that was held on it. Unlike what
happened wdth the state map, which was subject to public
hearings after it was released. Despite the promises that
that would happen wdth the Congressional map, it did not
happen.

So the transcripts that Mr. Prendergast has talked
about, the thousands of pages that he produced, are frankly an
empty set because they don't contain any discussion of the
actual map that was passed. What they contain is commentary
from various citizens groups about what they would like to see
in a particular map, but there is no back and forth of

colloquy between the members of the redistricting committees

 

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and the public which would identify specific parts of an
actual plan that would have been passed.

So, yes, they are available, yes, they were produced,
we sought them through FOIA, and we appreciate the production,
but they are effectively useless in providing any information
wdth respect to the basic facts of what was done, what were
the data inputs into the plan that was eventually passed.
There is nothing in those transcripts that bears any evidence
about that.

JUDGE MILLER: Can I ask you a follow-up on one thing
that Mr. Prendergast said --

MS. LIGHTFOOT: Yes, your Honor.

JUDGE MILLER: -- about the cases of this sort
usually being decided on the basis of expert testimony. And
the cases that I have read seem to be primarily expert
testimony based on publicly-available information.

Has nobody thought of this before? Is there
something unique about this case that gives rise to a greater
need for additional evidence?

MS. LIGHTFOOT: No, I think the cases actually end up
doing both. They end up certainly wdth a lot of expert
testimony about the viability of maps, the viability of
particular districts, how lines are drawn, whether or not
there is racial bloc voting. Adl that information certainly

plays out, but it's usually also in the context of actually

 

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receiving information from the other side about how it was
that they went about constructing their map, the data that
they used, expert testimony that was used in constructing the
map, how particular lines were drawn. And in many instances,
for example, the actual people who drew the lines end up
providing testimony.

All we‘re asking for, your Honor, under the qualified
privilege, which does apply in this case, and I submit doesn't
keep the legislative immunity from suit and liability is an
absolute misnomer in this case. What we are asking for is the
basic information about how the map was drawn, what were the
data points that were used, what were the objective
considerations that were used, That is information that I
think we are entitled to. We do not have it, we sought it
from a number of different instances, and we still stand here
today at the end of September, several months into having
filed our lawsuit, several months into having attempted on a
number of different fronts to be sure to obtain that
information, and we still don't have it.

The cases that they have cited which purport to apply
this blanket absolute legislative immunity in the context of
either city council members or state legislatures, every
single one of those cases can be tied to either the speech and
debate clause itself because they are federal legislatures or

because the particular state constitution at issue or in the

 

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instance of the couple D.C. circuit cases -- D.C. cases that
they cited, the D.C. charter actually adopts wholesale the
speech and debate clause there.

JUDGE TINDER: Are you saying there is no federal
common law of legislative immunity or legislative privilege?

MS. LIGHTFOOT: No, I'm saying in fact there is a
common law, a federal common law of legislative immunity and
privilege.

What we are suggesting, your Honor, and consistent
wdth the Irvin case that we cited, the Pataki case that we
cited, the Rodriguez case, in the instance where a third party
is not a named defendant in a suit, that the proper analysis
is the balancing test that courts all over the country have
used in weighing what the interests are in short strokes, what
the interests are at stake in the underlying suit, whether
there is an opportunity and an obligation to vindicate an
important federal interest in right such as there is here in
the Voting Rights Act and the other Constitutional provisions
that we have cited versus whether that's going to have a
chilling effect or undue intrusion on the part of the
legislature.

And the cases that we believe are more important in
terms of their facts and more consistent wdth the facts in
this case have come down universally to say it's a qualified

privilege, not a blanket absolute immunity, and that that

 

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privilege must give way when there is important and federal
interest at stake such as vindicating the rights of the Voting
Rights Act, We think that those are the line of cases that
are most apt in this circumstance again. We cited in our
brief Irvin, Pataki, Rodriguez, and a number of others. And
when that balancing is done here, and that's -- unfortunately,
that is not an issue that the respondents have even addressed
because they believe that they are entitled to cloak
themselves in absolute immunity.

But when that balancing is done, we believe that in
this instance, there can be crafted a narrow order that
requires the respondents to provide the various data inputs
that we have sought through our subpoena, and we think that's
appropriate.

JUDGE TINDER: If your subpoenas were limited to
data, I think it would be a much simpler project for us to
address. I think your subpoenas are vastly broader than
simply seeking data points.

MS. LIGHTFOOT: Ybur Honor, that may be so, and we
are happy to --

JUDGE TINDER: Had you written them more narrowly --

MS. LIGHTFOOT: And we are happy to amend the
subpoena in that instance because --

JUDGE TINDER: How would you amend it? To limit it

to what you really say you're arguing for, give us the generic

 

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description of what it is you feel you need that you can't get
from some other source wdthout which your case wdll fail.

MS. LIGHTFOOT: We would like a piece of paper that
reflects the identity of the people who were actually
responsible for drawing either the entire map if it was one
person or the district. We would like --

JUDGE TINDER: I wonder why. Why does it matter who
drew it or who considered it? It's what the product was.

MS. LIGHTFOOT: Well, I think it does matter in the
instance --

JUDGE TINDER: Let's say Joe Jones did it and he is a
notorious discriminator. Is that what you are getting at?
Everybody knows that Joe Jones --

MS. LIGHTFOOT: No, I don't even think it's -- I
don't even think we're going in that direction. I think we
are entitled to know who it was that was responsible, i.e.,
was it somebody --

JUDGE TINDER: What it wdll demonstrate is that those
who were involved in the drawing have democratic affiliations.
I think we can probably take judicial notice of that.

MS. LIGHTFOOT: But I think we‘d like to know,
whether, frankly, it was done by people in Springfield or
whether it was done by folks outside of Springfield, i.e., the
DCCC.

JUDGE LEFKOW: What does it matter?

 

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MS. LIGHTFOOT: I think it matters, your Honor,

because it goes to several points that we're trying to
demonstrate in our claims: One, whether or not there was some
kind of partisan animus improperly so that was injected into
this process.

JUDGE TINDER: I am going to assume there is partisan
animus.

MS. LIGHTFOOT: But improper. I don't know how we
get at that other data knowing who the drawers of the map
were.

JUDGE LEFKOW: What could possibly be improper about
that? Most of the state houses are controlled by people --
the same party you represent. So that's the way politics
goes.

JUDGE TINDER: And then the measure, the test, is the
product, was it a fair product.

MS. LIGHTFOOT: For sure.

JUDGE TINDER: Regardless of who writes it.

MS. LIGHTFOOT: I think we‘d like to have some
definitive -- a document that shows whether, in fact, any
expert actually was involved in opining about the map as
passed. We still don't know that definitively. AJl we know
is that --

JUDGE TINDER: Well, you do make a good point that to

the extent they resist your opponents and third parties resist

 

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disclosing certain things, they can't then bring that wdtness
in to testify.

MS. LIGHTFOOT: I think that's right.

JUDGE TINDER: Kind of surprising you wdth it. I
understand that.

MS. LIGHTFOOT: And then beyond those two categories,
your Honor, what we‘d like is essentially what was the data
that was used, was there any specific racial bloc voting
analysis that was done ahead of time to justify the way in
which the end product. That information l think we are
entitled to, and we still don't have that.

Now, one response might be, well, for example -- and
this is an issue that we want to talk to the court about -- we
are going to get expert reports from the other side relatively
soon. We have no idea if it's one expert report or multiple,
but let's assume that it's expert reports that analyze the map
as passed. Certainly, I think that wdll be helpful, but I
think we are also entitled to know whether or not any of those
experts or some other experts were engaged to analyze anything
about that map before it was passed, and we still don't know
that.

JUDGE TINDER: Well, now, you're confusing me again.

MS. LIGHTFOOT: Sorry.

JUDGE TINDER: The test here is not were there other
maps that might be better. It's whether this map

 

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discriminates.

MS. LIGHTFOOT: And I apologize if I'm confusing you,
your Honor, and I agree wdth you, that is the test, it's
whether it's this particular map.

What we are interested in knowing, however, is
whether or not there was expert involvement in helping craft
that map on the front end before it was passed or whether or
not the expert analysis was done in an ad hoc basis after the
fact,

Now, we wdll learn some of that when we sit down wdth
the expert reports that are produced, we wdll learn some of
that when we have the opportunity, presumably, to depose those
experts, but there's still going to be a piece of information
that's missing.

The defendant in our case is the State Board of
Elections. We know now, based upon the discovery that they
provided to us, that they effectively didn't get involved in
any of this process until after the map was passed.

What we're interested in is what the data inputs were
that went into the drafting of this map. And if the experts
were only retained post the passage of the map, we are not
going to know that information because they are not going to
know it, frankly.

JUDGE LEFKOW: I still don't really see why that
matters; that is, if they had the good luck of producing a

 

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valid map mdthout engaging an expert, then that's good for
them, right?

MS. LIGHTF00T1 Well, I think it speaks to whether or
not, in fact, this map was valid. It would be -- it would
certainly be good luck, maybe even more than that, if they
produced this map wdthout having a single expert weigh in on
the map before it was passed, and that would be an interesting
data point, frankly.

But I think what we are looking for is the basic
inputs into that map. That information is not readily
available in another source. We do think if you look at very
established case law that talks -- speaks to the issue of
balancing the qualified privilege in an evidentiary context,
that the balancing weighs in favor of disclosure of the very
information that we are seeking, and we‘d ask the court to so
rule.

On a related point, if the court were to determine --
and we put this in as an alternative wdth respect to our
argument -- if the court were to determine either that there
is absolute immunity -- and I really don't believe that that's
a test, and, frankly, as a citizen of the state, I would
encourage the court not to adopt that because I think it would
make it virtually impossible for any plaintiff seeking to
vindicate an important federal right like the Voting Rights

Act to be able to come into court and prosecute their case. I

 

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think the better test is qualified privilege. If the court
were to determine that the information is shielded from
some -- from view for some reason, what we would ask is that
part of that order, the court indicate that the State Board of
Elections, or no other party, frankly, can then come back and
use that information as a shield -- or, sorry, as a sword in
this case. I don't think they can have it both ways. If they
are saying, We can legislate in a black box, you are not
entitled to any information, fair enough, and if that's what
the court determines, we wdll respect that determination. But
I don't think on the back end, it's appropriate for them to
say, Wait, wait, wait, but, but, but let us bring in this
staffer, this piece of evidence, this expert.

Thank you, your Honor.

MR. PRENDERGAST: May I respond to that one point? I
just think it's a little early for motions in limine.

JUDGE LEFKOW: Pardon me?

MR. PRENDERGAST: I think it's a little early for
motions in limine.

JUDGE LEFKOW: Adl right. I think we have heard
enough. Thank you all for your help today.

MS. LIGHTFOOT: Thank you, your Honor.

MR. BERGETZ: Your Honor, Carl Bergetz for the
defendant. We do have one -- the parties to the case have

come to an agreement on a few things. There was one thing

 

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that Was pending before the court, a motion for a protective
order, and then there were some dates that we needed to move
out, And the clerk expressed that we should orally state them
to the court for purposes of entry of a minute order.

We have an agreement to extend fact depositions to
0ctober 19th, currently set for 0ctober 5th, but we had an
agreement to extend it to the 19th.

MS. LIGHTFOOT: Correct, your Honor.

MR. BERGETZ: We have an agreement that the
defendants wdll have until 0ctober 4th to disclose experts.
Currently, the date is ended today, but we have an agreement
that that wdll be the 4th.

MS. LIGHTFDOT: That's correct, your Honor.

MR. BERGETZ: They wdll have 14 days thereafter to
produce any rebuttal expert reports.

y And then we also have while fact depositions would
conclude on the 19th of OCtober, we have an agreement that
expert depositions might spill over into the 24th -- the week
of the 23rd, I believe.

None of this would affect the end dates that your
Honors have set for purposes of the hearing or for pretrial
disclosures.

MS. LIGHTFOOT: That's correct.

One other housekeeping matter. Ybu wdll recall we

filed a motion for protective order wdth respect to Rule

 

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30(b)(6) follomdng the last appearance in court.

We spoke together, and l think we have resolved all
of the issues, and we would be wdthdrawdng -- moving to
wdthdraw our motion for protective order wdthout prejudice.

JUDGE LEFKOW: AJl right. Very good.

MR. BERGETZ: Thank you, your Honor.

MS. LIGHTFOOT: Thank you, your Honor.

(Which were all the proceedings had in the above-entitled
cause on the day and date aforesaid )

I certify that the foregoing is a correct transcript from
the record of proceedings in he above-entitled matter.

 

 

Carolyn R. Cox Date
Official Court Reporter
Northern District of Illinois

/s/Carolvn R. Cox, CSR, RPR, CRR, FCRR

 

